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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. 8:19-cv-00818-JLS-KES                                     Date: January 20, 2021
 Title: David Elkins et al v. American Honda Motor Co., Inc., et al

  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

              Melissa Kunig                                          N/A
              Deputy Clerk                                      Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANTS:

               Not Present                                      Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER STRIKING PLAINTIFFS’
              MOTION TO ALTER JUDGMENT (Doc. 62)

        Before the Court is Plaintiffs’ Motion to Alter Judgment (Mot., Doc. 62), seeking
 reconsideration of the Court’s order granting Defendants’ Motion to Dismiss (Order,
 Doc. 60). Defendants opposed, and Plaintiffs replied. (Opp’n, Doc. 63; Reply, Doc. 64).
 Because Plaintiffs failed to comply with Local Rule 7-3, the Court STRIKES Plaintiffs’
 Motion.
        Central District of California Local Rule 7-3 requires that, at least seven (7) days
 before filing a motion for the Court’s consideration, counsel “contact opposing counsel to
 discuss thoroughly, preferably in person, the substance of the contemplated motion and
 any potential resolution.” L.R. 7-3. If the parties are unable to resolve their differences
 and are compelled to bring the matter before the Court, counsel for the moving party
 must include in the notice of motion a statement to the following effect: “This motion is
 made following the conference of counsel pursuant to L.R. 7-3 which took place on
 (date).” Id. The Court’s Standing Order reiterates the requirement that counsel comply
 with Rule 7-3. (See Standing Order, Doc. 10 at 5.).
        Here, Plaintiffs’ Notice of Motion states that Plaintiffs’ counsel made “two
 attempts to conference with counsel for Defendants prior to filing this Motion, both of
 which were after the seven (7) day notice period pursuant to L.R. 7-3.” (Mot. at 3).
 Defendants clarify, however, that these “attempts” constituted (1) “an email to counsel
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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

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 for defendant on August 17, 2020 (the date the Motion was filed), at 5:24 p.m.,
 generically asking for a call,” and (2) “a voicemail counsel left on the ‘general mailbox’
 of defense counsel’s 1,500 plus attorney law firm,” even though lead counsel’s direct
 telephone number is available on the firm’s website. (Opp’n at 2 n.2). The Notice of
 Motion concludes that “[a]s of the filing of this Motion, counsel for the parties had not
 yet conferred in an effort to resolve the relevant issues. In the event the parties confer
 pursuant to L.R. 7-3 after this filing, counsel for Plaintiffs will supplement this Motion
 accordingly.” Plaintiffs have not filed any such supplement to their Motion, nor have
 they otherwise adequately explained their failure to comply with Rule 7-3.
         “The district court has considerable latitude in managing the parties’ motion
 practice and enforcing local rules that place parameters on briefing.” Christian v. Mattel,
 Inc., 286 F.3d 1118, 1129 (9th Cir. 2002); see also Ward v. Circus Casinos, Inc., 473
 F.3d 994, 1000 (9th Cir. 2007) (stating that when a motion violates the Local Rules, the
 district court may, in its discretion, deny the motion on that basis alone). The Court
 therefore concludes that the appropriate disposition is to STRIKE the Motion for failure
 to comply with Local Rule 7-3.
         Because the twenty-eight-day deadline to file a motion for reconsideration under
 Federal Rule of Civil Procedure 59(e) has since lapsed, Plaintiffs may not refile their
 Motion. The Court nevertheless concludes that the application of Rule 7-3 to this Motion
 will not result in unfair prejudice, because Plaintiffs have in any case failed to meet the
 demanding requirements of a motion for reconsideration under Rule 59(e) and Local Rule
 7-18. Plaintiffs’ motion seeks to “present newly discovered or previously unavailable
 evidence” (Mot. at 8), but Plaintiffs have failed to show how, “in the exercise of
 reasonable diligence,” these facts “could not have been known to the party moving for
 reconsideration at the time the Order was entered.” L.R. 7-18. Nor have Plaintiffs shown
 that they would suffer “manifest injustice” by having to refile this matter as a new
 lawsuit. (See Mot. at 14).



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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. 8:19-cv-00818-JLS-KES                                     Date: January 20, 2021
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       The Court therefore STRIKES Plaintiffs’ Motion (Doc. 62) for failure to comply
 with Local Rule 7-3 and the Court’s Standing Order. Accordingly, the hearing set for
 January 22, 2021 at 10:30 a.m. is VACATED.




                                                             Initials of Deputy Clerk: mku




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